                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

FAYDRA ANN ENGLAND,                                )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )      No.:   3:06-CV-18
                                                   )             (VARLAN/GUYTON)
SUZUKI MOTOR CORPORATION, and                      )
AMERICAN SUZUKI MOTOR CO                           )
CORPORATION,                                       )
                                                   )
              Defendants.                          )


                             MEMORANDUM AND ORDER

        This civil action was before the Court on September 24, 2006, for a final pretrial

conference. The Court heard the arguments of counsel on several pending pretrial motions

and issued oral rulings on those opinions on September 27, 2006. Plaintiff’s Refiled and

Amended First Motion in Limine [Doc. 82] requests an order barring any reference to

plaintiff not having her seat belt buckled at the time of the accident. Because of the unique

question of law raised by plaintiff’s motion, the Court further explains its ruling as follows:

        I. Choice of Law

        As an initial matter, the Court must determine whether state or federal law applies.

In a diversity case, “state law governs substantive issues and federal law governs procedural

issues.” Legg v. Chopra, 286 F.3d 286, 289 (6th Cir. 2002) (citing Erie R.R. Co. v.

Tompkins, 304 U.S. 64 (1938)). The twin aims of Erie are to discourage forum-shopping and

avoid inequitable administration of the law. Hanna v. Plumer, 380 U.S. 460, 468 (1965).



     Case 3:06-cv-00018-TAV-HBG         Document 124       Filed 10/02/07     Page 1 of 11
                                        PageID #: 31
       Plaintiff argues that this is a matter of substantive law and therefore the law of

Tennessee shall apply. The Sixth Circuit, facing a similar issue regarding the Ohio seat belt

statute, applied Ohio law to determine the admissibility of seat belt use in a products liability

case. Sours v. General Motors Corp., 717 F.2d 1511, 1519 (6th Cir. 1982). While the Sours

court did not go into detail on the choice of law issue, the District Court for the District of

Maine thoroughly considered the issue regarding a similar Maine statute and concluded that

because the state statute was enacted for substantive policy reasons, it should be considered

substantive rather than procedural. Morton v. Brockman, 184 F.R.D. 211, 214 (D. Me. 1999)

(quoting 19 Wright, Federal Practice and Procedure § 4512, at 422 (2d ed. 1996) (“[T]here

are a number of ‘state law rules that, because their application result in the exclusion of

evidence, sometimes are considered rules of evidence, but in fact serve substantive state

policies and are characterized more properly as rules of substantive law within the meaning

of the Erie doctrine.’”). This Court agrees with the Morton court’s analysis and concludes

that the admissibility of evidence of seat belt use in this case is a substantive issue and

therefore Tennessee law applies.

       II. Construction of the Tennessee Statute

       The Court’s application of the Tennessee Statute must be guided by accepted rules of

statutory construction. Under Tennessee rules of statutory construction, the Court must give

each word “its plain meaning in its normal and accepted use, without a forced interpretation

that would limit or expand the statute’s application” when the statutory language is clear and

unambiguous. Lanier v. Rains, 229 S.W.3d 656, 661 (Tenn. 2007) (citing Eastman Chem.

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   Case 3:06-cv-00018-TAV-HBG           Document 124        Filed 10/02/07     Page 2 of 11
                                        PageID #: 32
Co. v. Johnson, 151 S.W.3d 503, 507 (Tenn.2004)). “If the language is ambiguous, a court

then must look to the statutory scheme as a whole and to legislative history to determine its

meaning.” Fusner v. Coop Const. Co., LLC, 211 S.W.3d 686, 691-92 (Tenn. 2007) (citing

Parks v. Tenn. Mun. League Risk Mgnt. Pool, 974 S.W.2d 677, 679 (Tenn. 1998)).

Additionally, the construing court should presume that every word in a statute has meaning

and purpose. Lanier, 229 S.W.3d at 661 (citing In re C.K.G., 173 S.W.3d 714, 722

(Tenn.2005)).

                A. Statutory Language

       Tennessee Code Annotated § 55-9-603, known as the Tennessee Mandatory Safety

Belt Act, mandates seat belt use when a person is operating a vehicle moving in a forward

direction on the highway. Highway is defined as “every way when any part thereto is open

to the use of the public for purposes of vehicular travel.” Tenn. Code Ann. § 55-8-101(22).

Tennessee Code § 55-9-604 addresses the admissibility of evidence of lack of seat belt use:

       (a) The failure to wear a safety belt or receipt of a citation or warrant for arrest
       for failure to wear a safety belt shall not be admissible into evidence in a civil
       action; provided, that evidence of a failure to wear a safety belt or receipt of
       a citation or warrant for arrest for failure to wear a safety belt, as required by
       this chapter, may be admitted in a civil action as to the causal relationship
       between non-compliance and the injuries alleged, if the following conditions
       have been satisfied:

                (1) The plaintiff has filed a products liability claim;

                (2) The defendant alleging non-compliance with this chapter shall raise
                this defense in its answer or timely amendment therefore in accordance
                with the rules of civil procedure; and



                                                3


   Case 3:06-cv-00018-TAV-HBG            Document 124        Filed 10/02/07     Page 3 of 11
                                         PageID #: 33
              (3) Each defendant seeking to offer evidence alleging non-compliance
              with this chapter has the burden of proving non-compliance with this
              chapter, that compliance with this chapter would have reduced injuries
              and the extent of the reduction of such injuries.

       (b) Upon request of any party, the trial judge shall hold a hearing out of the
       presence of the jury as to the admissibility of such evidence in accordance with
       the provisions of this section and the Tennessee Rules of Evidence.

       The Court’s ruling regarding the admissibility of plaintiff’s failure to wear her seat

belt is determined by the Court’s construction of this statute. Plaintiff was injured when her

car accelerated backwards down her mother’s driveway and up an embankment causing the

car to roll over. It is undisputed that plaintiff was not wearing her seat belt at the time. The

controlling question therefore, is whether the exception to the exclusion of evidence of

failure to wear a seat belt applies when the vehicle was not on a public road and was not

moving in the forward direction.

       Plaintiff argues that evidence of seat belt non-use is not admissible because defendants

cannot demonstrate non-compliance with this chapter as required in Tennessee Code § 55-9-

604(a)(3) as there is undisputed evidence that, at all relevant times, plaintiff’s vehicle was

not moving forward nor was it on a highway. Therefore, plaintiff concludes, evidence of

failure to wear a seat belt cannot be admitted.

       Defendants suggest that § 55-9-604(a)(3) should be read as only requiring a party to

prove non-compliance when they are alleging non-compliance. Because defendants are not

alleging non-compliance with the chapter, defendants argue that they only need to meet the

requirements in § 55-9-604(a)(1) and (2) for evidence of failure to wear a seat belt to be


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   Case 3:06-cv-00018-TAV-HBG           Document 124       Filed 10/02/07     Page 4 of 11
                                        PageID #: 34
admissible. Additionally defendants argue that the “as required by the chapter” modifier in

§ 55-9-604(a) only applies to the receipt of a citation or warrant for arrest for failure to wear

a seat belt. Defendants argue that to construe the statutory language the way in which

plaintiff suggests produces an absurd result because evidence of seat belt use would be

admissible in a case where a car was moving forward on a public street but not in an identical

case differing only in that the car was moving backward or in a private driveway.

       Despite defendants’ arguments, the Court concludes that the statute prohibits the

introduction of plaintiff’s failure to wear her seat belt in this case. Tennessee Code

Annotated § 55-9-603 only requires seat belt use when the vehicle is traveling in a forward

direction on a public road. Tennessee Code Annotated § 55-9-604 excludes all evidence of

seat belt non-use that does not fit within the section’s limited exception. The limited

exception allows the introduction of seat belt non-use in certain cases only when plaintiff was

in violation of § 55-9-603, i.e., required to have her seat belt buckled. Because plaintiff was

not moving in a forward direction on a public road, she was not required to have her seat belt

buckled when the accident occurred, and therefore her lack of seat belt use is not admissible.

              B. History of the Seat Belt Non-Use Exclusion

       While the Court finds that the meaning of the statute is clear, its reading is further

reinforced by a look at the evolution of the statute. The exclusion of seat belt non-use

evidence was adopted by the Tennessee Legislature as a stand-alone provision without

exception in 1963. The statute stated, “in no event shall failure to wear seat belts be

considered as contributory negligence, nor shall such failure to wear said seat belts be

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   Case 3:06-cv-00018-TAV-HBG           Document 124        Filed 10/02/07     Page 5 of 11
                                        PageID #: 35
considered in mitigation of damages on the trial of any civil action.” Tenn. Code Ann. § 59-

930 (1963) (renamed § 55-9-214 in 1977 but identical language to 1963 version). At the time

this version of the statute was enacted, drivers and passengers were not obligated to wear a

seat belt at anytime.

       The Tennessee Mandatory Safety Belt Act, requiring seat belt use when a vehicle was

moving in a forward direction, was enacted in 1986. The prior exclusion of seat belt non-use

was modified only slightly, still omitting any exception: “In no event shall failure to wear a

safety belt be considered as contributory negligence, nor shall such failure to wear a safety

belt be admissible as evidence in a trial of any civil action.” Tenn. Code Ann. § 55-9-604

(1986).

       In 1994, the second part of Tenn. Code Ann. § 55-9-604 was enacted creating the

limited exception allowing the admission of seat belt non-use evidence in cases in which the

injured party was required to wear a seat belt under § 55-9-603 and the three listed conditions

are met. The 2004 amendment to this section added the phrase “or receipt of a citation or

warrant for arrest for failure to wear a safety belt” to the statute to bring it to its current form.

       It is significant that the original version of the exception (the 1994 version) did not

include the language, “or receipt of a citation or warrant for arrest for failure to wear a safety

belt,” but did include the modifier “as required by this chapter.” In other words, the

amendment exception, prior to 2004, had the exclusion followed by the exception which

read, “. . .provided that evidence of a failure to wear a safety belt, as required by the chapter,

may be admitted . . .” (emphasis added).

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   Case 3:06-cv-00018-TAV-HBG             Document 124        Filed 10/02/07      Page 6 of 11
                                          PageID #: 36
       The statutory evolution of the Tennessee Mandatory Safety Belt Act supports the

Court’s conclusion that the first clause of Tennessee Code Annotated § 55-9-604(a) consists

of a blanket exclusion of evidence of failure to wear a seat belt under all conditions. When

the original exclusion was enacted, seat belt use was not required. Therefore the Court must

conclude that the Tennessee Legislature did not intend for the exclusion to only apply to

failure to wear a seat belt in violation of the Mandatory Seat Belt Act but intended it to apply

to failure to wear a seat belt under any circumstances. Absent the plaintiff’s situation fitting

into the narrow exception provided by § 55-9-604(a), evidence of seat belt non-use must be

excluded.

       The statutory history also supports the Court’s reading that the exception allowing the

admission of seat belt non-use evidence only applies to seat belt non-use that violates the

Mandatory Seat Belt Act, Tenn. Code Ann. § 55-9-603. The statutory background refutes

defendants’ contention that the “as required by this chapter” verbiage modifies only the

“receipt of a citation or warrant for arrest for failure to wear a safety belt,” because the “as

required by this chapter” was included in the 1994 version while the “receipt of a citation or

warrant for arrest for failure to wear a safety belt” was not added until 2004. Therefore, by

the literal language of the statute, the exception to exclusion related to failure to wear a seat

belt applies only to failure to wear a seat belt as required by this chapter, i.e., on a highway

and in forward motion. Thus, because plaintiff was not legally obligated to wear her seat belt

under § 55-9-603, the exception allowing the evidence does not apply to the situation here

and the evidence must be excluded.

                                               7


   Case 3:06-cv-00018-TAV-HBG           Document 124        Filed 10/02/07     Page 7 of 11
                                        PageID #: 37
              C. Limited Case Law

       Case law guidance on the issue before the Court is lacking. The parties have not

brought to the Court’s attention any state court cases interpreting the current version of the

exclusion section of the Tennessee Mandatory Safety Belt Act, nor is the Court aware of any

such cases. There are a limited number of federal and state cases discussing the application

of the Act’s evidentiary exclusion provision prior to the adoption of the exception here, but

they provide limited guidance to the Court in its resolution of this matter.

       To the extent that the few Tennessee cases which discuss Tennessee Code Annotated

§ 55-9-604 give any guidance on the issue before the Court now, they are consistent with the

Court’s conclusion. See Lowe v. Taylor, No. 01-A-01-9404-CV00179, 1994 WL 570078

(Tenn. Ct. App. Oct. 19, 1994) (finding the trial court was correct in sustaining an objection

to the introduction of seat belt use evidence); Burger v. Street, No. 03A01-CV-00094, 1994

WL 468219 (Tenn. Ct. App. Aug. 31, 1994) (holding that any evidence of admission of

plaintiff’s seat belt non-use evidence was harmless since the jury found the defendant not

guilty);. Motley v. Taylor, No. 02A01-CV-00273, 1993 WL 120096 (Tenn. Ct. App. Apr.

19, 1993) (reversing after finding that seat belt evidence was admitted in violation of Tenn.

Code Ann. § 55-9-604 and that evidence could have influenced the jury); Webster v. Blain,

No. 03A01-CV-00044, 1992 WL 122670 (Tenn. Ct. App. Oct. 26, 1992) (determining that

it was not an error for the trial court to refuse to give a jury instruction regarding the

irrelevance of seat belt use when seat belt evidence was not presented to the jury); see also

McKinney v. Jarvis, No. M1999-00565-COA-R9-CV, 2000 WL 279902 (Tenn. Ct. App.

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   Case 3:06-cv-00018-TAV-HBG          Document 124       Filed 10/02/07       Page 8 of 11
                                       PageID #: 38
Mar. 16, 2000) (holding that Tenn. Code Ann. § 55-9-604 does not violate due process or the

separation of powers under the Tennessee Constitution).

       In MacDonald v. General Motors Corporation, 784 F. Supp. 486 (M.D. Tenn. 1992),

the District Court for the Middle District of Tennessee considered the pre-exception version

of the statute. The defendant argued that the jury should be able to consider the extent to

which seat belt non-use exacerbated plaintiffs’ injuries. Id. at 490. The court concluded that

the seat belt evidence could not be introduced on the issues of contributory negligence,

assumption of the risk, and mitigation of damages, but that it was admissible on the issue of

proximate cause. Id. at 497-500.

       The Court recognizes that its construction of the statute is not entirely consistent with

the MacDonald court’s conclusion on admissibility for purpose of proximate cause.

However, the MacDonald court’s interpretation of the statute as allowing seat belt use

evidence to demonstrate proximate cause appears contrary to the current version of the

statute’s plain language and the limited Tennessee case law. “When called upon to construe

a statute, the courts must take care not to unduly restrict a statute’s application or conversely

to expand its coverage beyond its intended scope.”         Lanier, 229 S.W.3d at 661 (citing

Houghton v. Aramark Educ. Res. Inc., 90 S.W.3d 676, 678 (Tenn. 2002)). The language of

the statute clearly states “failure to wear a safety belt shall not be admissible into evidence

in a civil action.” Tenn. Code Ann. § 55-9-604 (current version, the language was slightly

different in 1992 but not in any material way). To read the current statute the way the



                                               9


   Case 3:06-cv-00018-TAV-HBG           Document 124        Filed 10/02/07     Page 9 of 11
                                        PageID #: 39
MacDonald court read the earlier version of the statute would require the Court to expand

the coverage of the statute contrary to the rules of statutory construction.

       The Court also notes that its decision herein is consistent with other jurisprudence

construing similar statutes in other jurisdictions. A district court in New York, construing

a similar New York statute, found that because forklifts are not motor vehicles, forklift

operators are not required to wear a seat belt, and thus the statute allowing the admission of

non-compliance with the seat belt requirement did not apply to the forklift driver plaintiff.

Zollinger v. Owens-Brockway Glass Container, Inc., 233 F. Supp. 2d 349, 356-57 (N.D.N.Y.

2002). In Jackson v. Moore, the Colorado Court of Appeals construed a similar statute which

allowed the admission of seat belt non-use evidence when a person violated the statute which

required a driver to wear his seat belt when operating a motor vehicle. 883 P.2d 622 (Colo.

Ct. App. 1994); see also Colo. Rev. Stat. § 42-4-237(2) (“[E]very driver of and every front

seat passenger in a motor vehicle equipped with a safety belt system shall wear a fastened

safety belt while the motor vehicle is being operated on a street or highway in this state.”);

Colo. Rev. Stat. § 42-4-237(7) (“Evidence of failure to comply with the requirement of

subsection (2) of this section shall be admissible to mitigate damages. . . ”). The court

determined that the plaintiff was not operating his truck as contemplated by the statute when

he was pulled over on the shoulder despite the fact that he was in the front seat with the

engine running and therefore was not required to have his seat belt fastened. Id. at 626.

Because the plaintiff was not required to have his seat belt fastened, the court concluded that

evidence of seat belt non-use could not be admitted. Id. at 627.

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  Case 3:06-cv-00018-TAV-HBG           Document 124       Filed 10/02/07       Page 10 of 11
                                        PageID #: 40
       For theses reasons, Plaintiff’s Refiled and Amended First Motion in Limine [Doc. 82]

is hereby GRANTED.1

       IT IS SO ORDERED.


                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




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       For the reasons stated on the record on September 27, 2007, the Court also concludes that
defendants’ additional arguments relating to due process and the presentation of expert testimony
under Fed. R. Evid. 703 are insufficient to defeat plaintiff’s motion.

                                               11


  Case 3:06-cv-00018-TAV-HBG            Document 124       Filed 10/02/07      Page 11 of 11
                                         PageID #: 41
